Case 1:07-cr-00213-PLM             ECF No. 299, PageID.3563        Filed 11/12/09     Page 1 of 1




                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF MICHIGAN
                                       SOUTHERN DIVISION


 SHAWN B. ECHOLS,

                        Petitioner,                              1:07-cr-213-05
                                                             No. 1:09-cv-763

               vs.
                                                             Hon. Paul L. Maloney
 UNITED STATES OF AMERICA,                                   Chief United States District Judge

                   Respondent.
 _____________________________________/

                ORDER GRANTING REQUEST FOR EXTENSION OF TIME

        The government has requested a 4-week extension of time to file its response to

 Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence, pursuant to Title 28, United States

 Code, Section 2255. Good cause having been shown,

        IT IS HEREBY ORDERED that the government shall have to and including November

30
 27, 2009 to file its response.



           12
 November ______, 2009                               /s/ Paul L. Maloney
                                                     HONORABLE PAUL L. MALONEY
                                                     Chief United States District Judge
                                                     Western District of Michigan
